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1    Jennifer Bennett (State Bar No. 296726)                               Jonathan E. Taylor*
     GUPTA WESSLER PLLC                                                    GUPTA WESSLER PLLC
2    100 Pine Street, Suite 1250                                           2001 K Street NW, Suite 850 North
3    San Francisco, CA 94111                                               Washington, DC 20006
     (415) 573-0336                                                        (202) 888-1741
4    jennifer@guptawessler.com                                             jon@guptawessler.com

5    Counsel for Amici Curiae Legal Scholars                               *Pro hac vice application forthcoming
6
7                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
8                                        SAN FRANCISCO DIVISION
9
10    CARLOS DADA, SERGIO ARAUZ,
      GABRIELA C. GUTIERREZ, JULIA
11    GAVARRETE, ROMAN GRESSIER,                                  Case No. 3:22-cv-07513
      GABRIEL LABRADOR, ANA B.
12    LAZO ESCOBAR, EFREN LEMUS,                                  Hon. James Donato

13    CARLOS MARTINEZ, OSCAR
                                                                  Hearing date not set
      MARTINEZ, MARIA L. NOCHEZ,
14    VICTOR PENA, NELSON R.                                      BRIEF OF AMICI CURIAE LEGAL
      ZABLAH, MAURRICIO S.                                        SCHOLARS IN SUPPORT OF
15    SARIANO, JOSE L. SANZ, DANIEL                               PLAINTIFFS’ OPPOSITION TO
      R. MARTINEZ, DANIEL                                         DEFENDANTS’ MOTION TO
16                                                                DISMISS
      LIZARRAGA, and CARLOS L.
17    SALAMANCA,

18             Plaintiffs,
      v.
19
20
21    NSO GROUP TECHNOLOGIES
      LTD, and Q CYBER
22    TECHNOLOGIES LTD,
23
               Defendants.
24
25
26
27
28

     Brief of Amici Curiae Legal Scholars in Support of Plaintiffs’ Opposition to Defendants’ Motion to Dismiss (Case No. 3:22-cv-07513)
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1                                             INTEREST OF AMICI CURIAE
2             Amici are legal scholars at law schools throughout the United States who specialize in civil
3
     procedure and other issues related to this case. They have no personal interest in the outcome of the
4
     case, but they write to share their professional views regarding the arguments advanced by defendant
5
     NSO Group in moving to dismiss the claims for lack of personal jurisdiction. A complete list of amici
6
7    and their relevant professional experience is included in the motion accompanying this brief.

8             Amici are filing this brief to respond to two arguments that NSO makes in contesting the

9    exercise of specific personal jurisdiction. NSO argues, first, that the traditional three-part “minimum
10   contacts” inquiry is inapplicable to tort cases and that the plaintiffs must instead satisfy the “effects
11
     test” derived from Calder v. Jones, 465 U.S. 783 (1984). NSO then argues that jurisdiction is proper
12
     under that test only if the plaintiffs were injured in the forum state. Both arguments are wrong and
13
     conflict with precedent from the Supreme Court and Ninth Circuit, as well as the law of other circuits.
14
15                                                          ARGUMENT
16   I.       Plaintiffs are not required to satisfy Calder’s “effects test”—as opposed to the
17            traditional minimum-contacts test—just because this is a tort case.

18            The Supreme Court has repeatedly explained that, for the exercise of specific personal

19   jurisdiction to comport with due process, three requirements—known as the minimum-contacts
20   test—must be satisfied. First, the defendant “must take ‘some act by which it purposefully avails itself
21
     of the privilege of conducting activities within the forum State.’’ Ford Motor Co. v. Mont. Eighth Jud.
22
     Dist. Ct., 141 S. Ct. 1017, 1024 (2021) (cleaned up). Second, “there must be an affiliation between the forum
23
     and the underlying controversy, principally, an activity or an occurrence that takes place in the forum
24
     State and is therefore subject to the State’s regulation’”—a requirement that is often reformulated as
25
26   a rule that the suit “arise out of or relate to the defendant’s contacts with the forum.” Id. at 1025

27   (cleaned up). Third, the exercise of personal jurisdiction must be reasonable. Id.
28
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1             In moving to dismiss the plaintiffs’ claims for lack of personal jurisdiction, NSO resists the
2    application of this traditional test. It agrees with the second and third requirements, but it seeks to
3
     impose a different standard for the first requirement (purposeful availment). Quoting from a 2004
4
     Ninth Circuit decision, NSO claims that, “[i]n a ‘tort’ case like this one,” the purposeful-availment
5
     requirement disappears and is replaced by a separate three-part test—a test that (in NSO’s view)
6
7    provides the exclusive route to exercising specific personal jurisdiction over tort defendants. NSO Br.

8    3 (quoting Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802–03 (9th Cir. 2004)). Under that test,

9    the defendant must have “(1) committed an intentional act, (2) expressly aimed at the forum state,
10   (3) causing harm that the defendant knows is likely to be suffered in the forum state.” Id.
11
              What NSO fails to mention, however, is that the Ninth Circuit recently rejected this exact
12
     argument. In 2018, it made clear that this test—known as “the Calder effects test”—serves a specialized
13
     purpose. Freestream Aircraft (Bermuda) Ltd. v. Aero Law Grp., 905 F.3d 597, 605 (9th Cir. 2018). It “focuses
14
15   on conduct that takes place outside the forum state and that has effects inside the forum state,” and it

16   allows for the exercise of jurisdiction in that scenario. Id. at 604. The test does not apply “where, as

17   here, part of the alleged tort occurred in the forum,” id. at 606 (cleaned up)—a clarification that
18   subsequent panels have begun to heed. See Ayla, LLC v. Alya Skin Pty. Ltd., 11 F.4th 972, 979 (9th Cir.
19
     2021) (“We generally focus our inquiry on purposeful availment when the underlying claims sound in
20
     contract and on purposeful direction when they arise from alleged tortious conduct committed outside
21
     the forum.” (emphasis added)). Hence, as the Ninth Circuit has long recognized, “the commission of a
22
23   tort within the forum state usually supports the exercise of personal jurisdiction” without the need to

24   consider other factors, such as where the plaintiff was injured. Freestream, 905 F.3d at 606; see Keeton v.

25   Hustler Magazine, Inc., 465 U.S. 770, 776 (1984) (“[B]ecause torts involve wrongful conduct which a state
26   seeks to deter, and against which it attempts to afford protection,” a “state has an especial interest in
27
     exercising judicial jurisdiction over those who commit torts within its territory.” (cleaned up)).
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1             The facts of Calder help to illustrate this distinction. Calder involved libel claims brought in
2    California against a magazine publisher and two individuals who worked on the allegedly libelous
3
     story. Although the individual defendants did not control the magazine’s distribution or directly
4
     benefit from its circulation in California, the Supreme Court held that the effect of their out-of-state
5
     acts in California was enough to support jurisdiction in the state because “their intentional, and
6
7    allegedly tortious, actions were expressly aimed at California,” and because “they knew that the brunt

8    of that injury” would be felt there. Calder, 465 U.S. at 788–90. But the Court did not suggest that this

9    was the only way to establish minimum contacts in tort cases. To the contrary, personal jurisdiction
10   over the publisher was uncontested based on its commercial activity in the state—quite apart from
11
     any “effects” that were felt there. Id. at 784.
12
              Calder is thus best understood as a case where the Supreme Court recognized an additional
13
     theory for establishing personal jurisdiction in cases where the defendant’s intentional tort was
14
15   expressly aimed at the forum state and caused injury there. See Dole Food Co., Inc. v. Watts, 303 F.3d

16   1104, 1111 (9th Cir. 2002) (“Calder stands for the proposition that purposeful availment is satisfied even

17   by a defendant ‘whose only “contact” with the forum state is the “purposeful direction” of a foreign
18   act having effect in the forum state.”). In doing so, however, Calder did not purport to restrict personal
19
     jurisdiction by eliminating purposeful availment in all tort cases going forward (and least of all, in
20
     cases involving tortious conduct committed within the state).1
21
              Other circuits have understood Calder in this way. The Eleventh Circuit, for example, has
22
23   held that in cases “involving an intentional tort, two applicable tests can determine whether

24   purposeful availment occurred: the effects test and the traditional minimum-contacts test,” and

25
26
              In 2014, the Supreme Court clarified that, given “the nature of the libel tort,” Calder’s focus
              1

27   on the “effects” of the defendants’ conduct made particular sense there because it meant that “the
     defendants’ intentional tort actually occurred in California.” Walden v. Fiore, 571 U.S. 277, 287 (2014).
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1    “either test suffices.” SkyHop Techs., Inc. v. Narra, 58 F.4th 1211, 1230 (11th Cir. 2023). The Seventh Circuit
2    has done the same. See, e.g., uBID, Inc. v. GoDaddy Grp., Inc., 623 F.3d 421, 427 n.1 (7th Cir. 2010) (finding
3
     resort to Calder’s effects test unnecessary to exercise specific jurisdiction in case involving tort-like
4
     claims); Lexington Ins. Co. v. Hotai Ins. Co., 938 F.3d 874, 878 (7th Cir. 2019) (Barrett, J.) (“The defendant’s
5
     contacts with the forum state must show that it purposefully availed itself of the privilege of
6
7    conducting business in the forum state or purposefully directed its activities at the state.” (cleaned up,

8    emphasis added)). As these courts have explained: “The ‘effects test’ provides an additional means,

9    unavailable in contract cases, of determining the appropriateness of personal jurisdiction—one that
10   is based on a plaintiff’s ties to the forum state and the harm suffered by the plaintiff. The ‘effects test,’
11
     however, does not supplant the traditional minimum contacts test for purposeful availment applicable
12
     in contract and tort cases alike.” Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1357 (11th Cir. 2013).
13
              The Second Circuit has likewise noted that the Calder “effects test is a theory of personal
14
15   jurisdiction typically invoked where (unlike here) the conduct that forms the basis for the controversy

16   occurs entirely out-of-forum, and the only relevant jurisdictional contacts with the forum are

17   therefore in-forum effects harmful to the plaintiff.” Licci v. Lebanese Canadian Bank, 732 F.3d 161, 173 (2d
18   Cir. 2013). But when “the conduct on which the alleged personal jurisdiction is based occurs within
19
     the forum,” as the plaintiffs argue here, the Second Circuit (like the Ninth Circuit) does not demand
20
     “the existence of in-state effects sufficient to satisfy the ‘effects test’” as a jurisdictional “prerequisite.”
21
     Id. Nor does any other circuit impose such a requirement. See, e.g., Guidry v. U.S. Tobacco Co., 188 F.3d
22
23   619, 628 (5th Cir. 1999) (“When a nonresident defendant commits a tort within the state, or an act

24   outside the state that causes tortious injury within the state, that tortious conduct amounts to sufficient

25   minimum contacts with the state by the defendant.”). In short, the other circuits’ rules operate in
26   much the same way as the Ninth Circuit’s rule: If a tort plaintiff can satisfy the requirements of the
27
     traditional minimum-contacts test, personal jurisdiction follows.
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1             If there were any doubt on that score, the Supreme Court’s recent decision in Ford should
2    resolve it. That case involved tort claims against Ford, yet the Court left no hint that the Calder effects
3
     test had somehow displaced the traditional minimum-contacts test. Quite the opposite: The Supreme
4
     Court reiterated the applicability of the traditional minimum-contacts test and its requirement of
5
     “purposeful availment”—without discussing purposeful direction at all. 141 S. Ct. at 1024–25. That test
6
7    is thus fully applicable here.

8    II.      Plaintiffs are not required to have been injured in the forum state for there to
              be specific personal jurisdiction in a tort case.
9
              NSO’s second argument compounds the errors of its first argument. After staking out the
10
     position that Calder’s effects test invariably displaces purposeful availment in tort cases, NSO claims
11
12   (at 3) that the test cannot be satisfied in this case “because Plaintiffs do not claim NSO harmed them

13   ‘in the forum state.’” But even if this Court were to insist on a test rooted in purposeful direction
14   rather than purposeful availment, there is no basis for requiring the plaintiffs to have been injured in
15
     the forum state for the defendant to have formed sufficient contacts with that state.
16
              The Supreme Court has been emphatic on this point: “The proper question is not where the
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     plaintiff experienced a particular injury or effect but whether the defendant’s conduct connects him
18
     to the forum in a meaningful way.” Walden, 571 U.S. at 290; see also Ford, 141 S. Ct. at 1031 (“Walden held
19
20   [that] the place of a plaintiff’s injury and residence cannot create a defendant’s contact with the forum

21   State” (cleaned up)). That’s because the due-process inquiry focuses on the defendant’s contacts with
22   the forum state; it does not focus on the plaintiffs’ contacts with the forum. See, e.g., Bristol-Myers Squibb
23
     Co. v. Super. Ct. of Cal., 582 U.S. 255, 262 (2017) (“The primary focus of our personal jurisdiction inquiry
24
     is the defendant’s relationship to the forum State.”). To hold otherwise—and insist that a tort plaintiff
25
     have been injured in the forum state as a prerequisite to exercising specific jurisdiction—would be
26
27   tantamount to requiring tort plaintiffs to establish not only that the defendants have minimum

28   contacts with the forum, but that the plaintiffs do as well. As the Supreme Court pointed out in Calder
                                                        -5-
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1    itself, however, “[t]he plaintiff’s lack of ‘contacts’ will not defeat otherwise proper jurisdiction.” 465
2    U.S. at 788; see also Keeton, 465 U.S. at 779 (“[W]e have not to date required a plaintiff to have
3
     ‘minimum contacts’ with the forum State before permitting that State to assert personal jurisdiction
4
     over a nonresident defendant. On the contrary, we have upheld the assertion of jurisdiction where
5
     such contacts were entirely lacking.”). Or as the Court put it in a case decided on the same day as
6
7    Calder: “The victim of a libel, like the victim of any other tort, may choose to bring suit in any forum

8    with which the defendant has certain minimum contacts such that the maintenance of the suit does

9    not offend traditional notions of fair play and substantial justice”—regardless of whether (or the
10   extent to which) the plaintiff suffered an injury in that state. Keeton, 465 U.S. at 780–81 (cleaned up,
11
     emphasis added). That statement of the law is no less true today.
12
              Indeed, even the defendant in Ford—which advocated for an unduly narrow view of specific
13
     jurisdiction—conceded that personal jurisdiction would be proper in numerous states where the
14
15   plaintiffs in the case had suffered no injury. See Ford 141 S. Ct. at 1026 (“[T]he case is not over even if,

16   as Ford argues, a causal test would put jurisdiction in only the States of first sale, manufacturer, and

17   design,” because a “different State’s courts may yet have jurisdiction.”). NSO Group’s argument in
18   this case is thus even more extreme than the argument that the Supreme Court rejected in Ford.
19
              So the governing rule is clear: The plaintiffs may establish specific personal jurisdiction under
20
     the traditional minimum-contacts test. And if they plausibly allege that part of NSO’s tortious acts
21
     took place in California, “the first two prongs of the minimum contacts test are satisfied.” Freestream,
22
23   905 F.3d at 603; see also Ayla, 11 F.4th at 983 n.5 (“[O]ur precedents permit but do not require a showing

24   of but-for causation to satisfy the nexus requirement…. A narrower test is foreclosed by … Ford.”);

25   Keeton, 465 U.S. at 780 (holding that the exercise of personal jurisdiction is proper “when the cause of
26   action arises out of the very activity being conducted, in part, in [the forum state].”).
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1    Dated: May 26, 2023                                                  Respectfully submitted,
2                                                                         /s/ Jennifer D. Bennett
                                                                          Jennifer Bennett (State Bar No. 296726)
3                                                                         GUPTA WESSLER PLLC
                                                                          100 Pine Street, Suite 1250
4                                                                         San Francisco, CA 94111
                                                                          (415) 573-0336
5
                                                                          jennifer@guptawessler.com
6
                                                                          Jonathan E. Taylor*
7                                                                         GUPTA WESSLER PLLC
                                                                          2001 K Street NW, Suite 850 North
8                                                                         Washington, DC 20006
                                                                          (202) 888-1741
9
                                                                          jon@guptawessler.com
10
                                                                          *pro hac vice application forthcoming
11
                                                                          Counsel for Amici Curiae Legal Scholars
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